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CIVIL COVER SHEET

The JS-44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law,
except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk
INSTRUCTIONS ON THE REVERSE OF THE FORM.)

DEFENDANT
Donald Miller, Hardin Ramey and Blakeley & Ramey

JS

(Rev. 7/89) PagelD 1

of Court for the purpose of initiating the civil docket sheet. (SE

I.(a) PLAINTIFF
Great-West Life & Annuity Insurance Company

COUNTY OF RESIDENCE OF FIRST LISTED DEFENDANT

(IN U.S. PLAINTIFF CASES ONLY)
NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE TRACT
OF LAND INVOLVED.

onsen or 02CV0334-D

Hardin Ramey

Blakeley & Ramey

112225 Greenville Avenue, Ste. 880
Dallas, Texas 75243

(b) county oF RESIDENCE OF FIRST LISTED PLAINTIFE Arapahoe, co
(EXCEPT IN U.S. PLAINTIFF CASES)

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FEB | = 2002

(C) ATTORNEYS (FIRM NAME, ADDRESS, AND TELEPH

Thomas H. Lawrence '
LAWRENCE & RUSSELL , i
5050 Poplar Ave., Suite 1617 . i
Memphis, TN 38157 -
901-844-4430

lil. CITIZENSHIP OF PRINCIPAL PARTIES
(For Diversity Cases Only)

II. BASIS OF JURISDICTION (PLACE AN "X" IN ONE BOX ONLY)

(PLACE AN "X" IN ONE BOX FOR
PLAINTIFF AND ONE BOX FOR DEFENDANT)

F PTF DEF

O 1 U.S. Government Federal Question

Ne

Plaintiff (U.S. Government Not a Party) | Citizen of This State o1 01 Incorporated or Principal Place O04 O4
of Business In This State

O 2 U.S. Government 04 Diversi og: oo

Defendant (Indicate Citizenship of Parties | Citizen of Another State G2 02 Incorporated and Principal Place 05 O5

in Item IN) of Business In Another State
Citizen or Subjectofa O83 O83 Foreign Nation 06 O6
Foreign Country
IV. CAUSE OF ACTION (CITE THE U.S CIVIL STATUTE UNDER WHICH YOU ARE FILING AND WRITE BRIEF STATEMENT OF CAUSE
DO NOT CITE JURISDICTIONAL STATUTES UNLESS DIVERSITY.)

29 U.S.C. § 1132(a)(3). Plaintiff seeks equitable relief and to enforce the terms of an ERISA-covered employee welfare benefit plan.
V. NATURE OF SUIT (PLACE AN "xX" IN ONE BOX ONLY)

CONTRACT TORTS FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES
BD 110 insurance PERSONAL INJURY PERSONAL INJURY Q 610 Agnculture 0 422 Appeal 28 USC 158 0 400 State Reapportionment
0 120 Marine O 620 er Food & Drug O 410 Antitrust
0 130 Miller Act © 310 Airpiane 0 362 Personal Injury-Med 0 625 Ong Related Seizure of O 423 Withdrawal 28 USC 157 Q 430 Banks and Banking
a 140 Negotiable Instrument t 0315 tepane Product 0385 Malpractice Product 0 630 Property 21 USC 881 0 450 CommercellCC
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& Enforcement ‘of Judgment 0 320 Assault, Libel & Liability wry 0 640 RR. & Truck PROPERTY RIGHTS O 460 Deportation
jander 5 368 Asbestos Personal Injury 0 650 Airline Regs 0 820 Copynghts Q 470 Racketeer Influenced
0 151 Medicare Act B 330 Federal Employers' Product Liability 0 660 Occupational Safety/Health | 4 g39 pepys and Corrupt
© 152 Recovery of Defaulted Liability 0 690 Other 0 840 Trademark Organizations
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xcl Veterans jarine Produ Oo ecunties/Commadities/
Liabuti O 370 Other Fraud LABOR SOCIAL SECURITY Exchange

© 153 Recovery of Overpayment
of Veteran's Benefits

O 350 Motor Vehicle
© 355 Motor Vehicle

0 371 Truth tn Lending,
Q 380 Other Personal Property

0 710 Fair Labor Standards Act

0 861 HIA (1395ff)

ig
0 875 Customer Challenge
12 USC 3410

0 160 Stockholders’ Suits Product Ltabili Damage 0 862 Black bung 23) 0 891 Agricuitural Acts
O 190 Other Contract D 360 Other Personal OB 385 Property Damage 0 720 Labor/Mgmt. Relations CG 863 DIWC/DI (405(g)) © 892 Economic Stabilization
0 195 Contract Product Liability Injury Product Liability O 864 SSID Title XVI
© 730 Labor/Mgmt. Reporting & 0 865 RSI (405(q)) © 893 Environmental Matters
Disclosure Act 0 894 Energy Allocation Act
REAL PROPERTY CIVIL RIGHTS _| PRISONER PETITIONS FEDERAL TAX SUITS _| © 895 Freedom of
0 740 Railway Labor Act Information Act

0 210 Land Condemnation O 441 Voting © 510 Motions to Vacate . G 870 Taxes (U.S. Plaintiff or 0 900 Appeal of Fee
D 220 Foreclosure Q 442 Employment Sentence © 790 Other Labor Litigation Defendant) Determination Under
D 230 Rent Lease & Ejectment 0 443 Housing/ Habeas Corpus Equal Access to
0 240 Torts to Land Accommodations | 0 530 General 791 Empl. Ret. Inc. Secunty 0 871 IRS — Third Party Justice
O 245 Tort Product Liability C 444 Welfare 5 535 Death Penalty Act 26 USC 7609 0 950 Constitutionality of
2 290 All Other Real Property 0 440 Other Civit Rights 0 540 Mandamus & Other State Statutes

0 550 Other © 890 Other Statutory Actions
VI. ORIGIN (PLACE AN "X" IN ONE BOX ONLY) Appeal to District

Transferred from Judge from
1_Onginal 0 2 Removed from € 3 Remanded from O 4 Reinstated or 0 5 another distnct O 6 Multidistrict 0 7 Magistrate
Proceeding State Court Appellate Court Reopened {specify} Litigation Judgment
Vil. REQUESTED IN DEMAND $ CHECK YES only if demanded ip complaint:
COMPLAINT: CHECK IF THIS IS A CLASS ACTION JURY DEMAND: YES NO
O UNDER F.R.C P 23

Vill. RELATED CASE(S) (See instructions):

IF ANY JUDGE DOCKET NUMBER
DATE 9 pep fo StayaRg oF ATTORNEY OF RECORD
/ / ay ws fer
FOR OFFICE USE ONLY
RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE

JS 44 Reverse
(Rev. 7/89)
INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS-44

Authority For Civil Cover Sheet
A ;02-cv-00334-D Document1 Filed 02/19/02 Page ; 2 of oe -PagéLOVRT
. Cis. RN DISTRICT OF TEXAS

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IN THE UNITED STATES DISTRICT COURT. FEB | 9 2n02
FOR THE NORTHERN DISTRICT OF TEXAS,

DALLAS DIVISION CLP se, US. DISTRICT COURT
By
GREAT-WEST LIFE & ANNUITY eB enuty
INSURANCE COMPANY,
Plaintiff, 3 on 0 .
Case No. aC V0334 D
Vv.

DONALD MILLER, HARDIN RAMEY,
and BLAKELEY & RAMEY,

Defendants.

COMPLAINT

Plaintiff, Great-West Life & Annuity Insurance Company, pleads as follows:

1. This action to enforce the terms of the Employee Welfare Benefit Plan for Employees
and Dependents of Baron & Budd (the “Plan”) and for equitable relief arises under the Employee
Retirement Income Security Act, 29 U.S.C. §§ 1001-1461 ("ERISA").

PARTIES

2. Plaintiffhas been assigned all of the Plan’s rights to enforce the Plan’s Subrogation
and Right of Recovery Provision, is a fiduciary of the Plan and, thus, is authorized to bring this
action pursuant to 29 U.S.C. § 1132(a)(3).

3. Defendant, Donald Miller (“Miller”), is a citizen and resident of this District.

4. Upon information and belief, Defendant Hardin Ramey is a citizen and resident
of Dallas, Texas.

5. Upon information and belief, Defendant Blakeley & Ramey is conducting business

in Dallas, Texas.
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JURISDICTION AND VENUE

6. This Court has jurisdiction pursuant to 28 U.S.C. § 1331 because this action to
enforce provisions of the Plan arises under ERISA.

7. Pursuant to 29 U.S.C. §1132(e)(2), venue is proper in this Court because Defendant
resides in this District and because the breach of Plan provisions has occurred and is occurring in
this District.

FACTUAL ALLEGATIONS

8. Miller is an employee of Baron & Budd. He elected to participate in the Plan for
purposes of obtaining medical, surgical and hospital benefits.

9. On or about June 4, 2001, Miller was injured in a motor vehicle accident.

10. Miller retained Hardin Ramey to represent him in pursing claims against the third
parties responsible for his injuries.

11. In connection with the same injuries alleged in those claims, the Plan has paid
medical benefits on behalf of Miller in the amount of $30,748.53.

12. The Plan contains an express provision for subrogation and right of reimbursement,
which provides for a first lien right of recovery, to the extent of benefits paid, when a covered person
makes a recovery from another party responsible for the injuries.

13. Miller has settled his claims for a total amount of $500,000.00. Plaintiff has
requested that Miller honor the terms of the Plan, but he has refused to do so.

I. EQUITABLE RELIEF ENFORCING THE TERMS OF THE PLAN

14, Pursuant to 29 U.S.C. § 1132(a)(3), Plaintiff seeks equitable relief against

Defendants to enforce ERISA and the terms of the Plan. By refusing to turn over the $30,748.53
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recovery to Plaintiff, Defendants have violated the terms of the Plan. Since these acts and/or
practices violate the Plan’s terms, this Court should enter an order declaring the Plaintiff's rights,
and an order in constructive trust and equitable restitution enforcing the terms of the Plan by
requiring Defendants to turn over $30,748.53 out of the $500,000.00 recovered on behalf of Miller.

Il. PRAYER FOR RELIEF

15. Plaintiff requests that the Court enter an order granting it a constructive trust and
equitable restitution against Defendants requiring them to turn over $30,748.53 to the Plan,
including appropriate pre-judgment interest and post-judgment interest at the rate of 1 4% pursuant
to the terms of the Plan, and for any other relief to which it is entitled and that it be awarded its

reasonable attorneys’ fees and costs.
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Dated this \S aay of February, 2002.

Respectfully submitted,

we Le

Thomas H. Lawrence
Attorney-in-Charge for Defendant
Federal I.D. No. 22802

State Bar of Texas No. 00787884
John M. Russell

TN Bar No. 17546

OF COUNSEL:

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